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9
                        UNITED STATES DISTRICT COURT
10
                             DISTRICT OF NEVADA
11
     Angela B. Allen,                          Case No.: 2:21-cv-00910-JAD-BNW
12
13                   Plaintiff(s),
                                               Notice of settlement between Plaintiff
            v.
14                                             and Clarity Services Inc.
15   Experian Information Solutions, Inc.;
     Clarity Services, Inc.;
16
     Backgroundchecks.com LLC; National
17
     Consumer Telecom & Utilities
18   Exchange, Inc.; Verizon Wireless
19   Services, LLC; SCA Collections, Inc.;
20   Cash 1 LLC; and CNU of Nevada,
21   LLC, d/b/a CashNetUSA,

22
                     Defendant(s).
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27
     _____________________
     Notice                                  -1-
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7          The dispute between Angela B. Allen (“Plaintiff”) and Clarity Services Inc.
8    (“Defendant”) has been resolved. Plaintiff anticipates filing dismissal documents as
9    to Plaintiff’s claims against Defendant within 60 days.
10
           Dated: November 8, 2021.
11
12
                                          Freedom Law Firm
13
14                                         /s/ George Haines            .
                                          George Haines, Esq.
15                                        Gerardo Avalos, Esq.
16                                        8985 S. Eastern Ave., Suite 350
                                          Las Vegas, Nevada 89123
17                                        Attorney for Plaintiff Angela B. Allen
18
19
20                                              Order
21                               IT IS ORDERED that a stipulation
                                 to dismiss Clarity Services Inc. is
22                               due by 1/9/2022.
23                                        IT IS SO ORDERED
                                          DATED: 1:24 pm, November 09, 2021


24
                                          BRENDA WEKSLER

25
                                          UNITED STATES MAGISTRATE JUDGE




26
27
     _____________________
     Notice                                    -2-
